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                                                                    EXHIBIT A
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                                                                                                                          Clerk
                                                                                                       Hamilton County, Indiana




 STATE OF INDIANA                       )        IN    THE HAMILTON SUPERIOR COURT
                                        )        SS:      CIVIL DIVISION, ROOM NO.         3
 COUNTY OF HAMILTON                     )        CAUSE NO.     29D03-1908-CT-008166

 LUANNE BURKE,                                                    )

                                                                  )

           Plaintiff,                                             )

                                                                  )

                   V.                                             )

                                                                  )

 MEUER STORES LIMITED                                             )

 PARTNERSHIP,                                                     )

                                                                  )

           Defendant.                                             )



                                 AMENDED COMPLAINT FOR DAMAGES
           Comes now the        Plaintiff,   LUANNE BURKE, by Counsel, and for her Amended Complaint

 for   Damages     against the Defendant,        MEIJER STORES LIMITED PARTNERSHIP                 (“Meijer”);


 asserts   and   alleges:


           1.       At all times relevant t0 this      action, Plaintiff   LUANNE BURKE (“LUANNE”) was a

 resident of Carmel, Hamilton County, Indiana.


           2.       At   all   times relevant t0 this action, Defendant       MEIJER was   a Foreign For—Proﬁt


 Corporation organized under the laws of the State of Michigan and operated a chain of retail and


 grocery businesses in Indiana.


           3.       At   all   times relevant t0 this action, Defendant         MEIJER owned,   operated,   was

 responsible for, and/or         managed      a retail and grocery store located at 1424   West Carmel Drive,

 Carmel, Indiana, 46032 (“STORE”).


           4.       On May 24,       2019,    LUANNE was an invitee at the STORE.

           5.       At said time,    LUANNE was attempting t0 walk in, 0r around, the meat department 0f

 the   STORE, directly in front ofthe lobster tank When she fell as a result ofwater located 0n the ﬂoor,




                                                                                                  EXHIBIT A
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 that   was not marked, identiﬁed 0r otherwise warned about                    t0 invitees   0f The   STORE,   including


 LUANNE.

          6.           The area Where       LUANNE       tripped and    fell   was Within    the exclusive control and


 management of the Defendant MEIJER who was responsible                          for   making   sure a business invitee


 could safely maneuver around the               STORE.

           7.          At   all   times mentioned herein, the acts and/or omissions 0f the Defendant            MEIJER

 was performed and/or omitted by and through                          their    agents,    employees,    servants     and/or


 representatives acting within the scope of their            employment        for   Defendant MEIJER.


           8.     Defendant        MEIJER was negligent in, among         other things:


                       a.    failing t0 adequately   warn   invitees of the water        on the ﬂoor 0f the STORE;

                       b.    failing to adequately protect and/or      guard invitees from falling on the water on


                             the   ﬂoor 0f the STORE;

                       c.    failing to properly maintain the lobster tank in a          manner so   as to prevent   it   from


                             leaking onto the ﬂoor 0f the     STORE; and

                       d.    failing t0 clean   up the water on the ﬂoor of the STORE;

          thereby creating a dangerous and hazardous condition for invitees.


           9.     AS   a direct and proximate result of Defendant         MEIJER negligence, Plaintiff LUANNE

 suffered severe and permanent personal injuries,               all   of which resulted in pain and suffering and


 mental anguish commonly associated With those                injuries.



           10.    As   a direct and proximate result 0f Defendant              MEIJER     negligence and the resulting


 injuries to Plaintiff            LUANNE, LUANNE was            required t0 engage the services of hospitals,


 physicians, and specialists, and Will require additional treatment in the future.


           1 1.   As   a direct and proximate result 0f Defendant         MEIJER negligence, Plaintiff LUANNE
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 incurred medical expenses Which will continue into the future.


         12.   As   a direct and proximate result ofDefendant   MEIJER negligence, PlaintiffLUANNE

 has incurred and Will continue t0 incur a loss of enj oyment of life.


         13.   As   a direct and proximate result ofDefendant   MEIJER negligence, PlaintiffLUANNE

 has been damaged.


         WHEREFORE,          the Plaintiff prays for   judgment against the Defendant       in   an amount


 reasonable to compensate her for her damages, for costs ofthis action and for all other reliefjust and


 proper in these premises.


                                                          LADENDORF LAW




                                                 BY:
                                                            Mfw
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                                                          Mark   C. Ladendorf, #985 1 -49
                                                          Attorneys for Plaintiff




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